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) United States District Court _
Northern District of Illinois N+

Cynthia S. Wright | FE j L E. D

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Plaintiff ) M. ac 2 2 0 | Y
J MAR 032044 '
) THOMAS G. BRUTON
) CLERK, U.S. DISTRICT COURT
Evanston-Skokie School
District 65, Evanston, IL
Defendant 14cv1490

COMPLAINT Judge Ronald A. Guzman
Magistrate Sheila M. Finnegan

1) I, Cynthia Wright, am submitting a complaint against the Evanston-Skokie School District 65
for the violation of the U.S. Constitutional and Civil Rights of my minor child Lucas Wright age
10 and slander of Cynthia Wright, mother of Lucas Wright. Lucas Wright is a 10-year old, 4"
grade student at Lincolnwood Elementary School in Evanston-Skokie School District 65 in

Evanston, [linois.

2) Unlawful Seizure from the Classroom/Failure to Provide Medical Attention/Denial of
Medical Attention Offered/Severe Emotional Distress of a Child- Since the beginning of the
current school year (2013-2014), Mr. Chet Williams, Lincolnwood Elementary School, has
inquired about our family structure. To his admission in a meeting with Mr. Hunter
(Lincolnwood Elementary School Principal), Geri Helfand (Evanston-Skokie District Social
Worker), Dr. Durene Wheeler (friend/fellow Lincolnwood Elementary School parent), and
myself, Mr. Williams approached my son with questions asking: “Do you know your father? Is
your father in your life? Where does he live? Do you ever see him? Does he ever spend time
with you? My son reported the questioning to me early on within the first two weeks of school. I

thought the questions were weird and I told Dr. Wheeler of my concern immediately. I didn’t

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want to be accusatory and decided to just talk to Lucas and let him know this isn’t any of Mr.
Williams business. Mr. Williams also shared inappropriate information about himself with my
son such as: He comes from a single parent home. He didn’t meet his father until he was in 9”
grade. He and his siblings grew up poor. He was abused at home and by a principal at one of his
schools (Mr. Williams denied this as being true in the meeting with Mr. Hunter, Social Worker,
Cynthia Wright, and Durene Wheeler). He disclosed information about his divorce and the fact
that he had taken his daughter “Riley” to see a movie that was too inappropriate to be discussing
with his 4" grade students’ ages 9 and 10 years old. The movie was a rated R movie titled Bad
Grandpa. On Thursday November 7, 2013 my son left school very upset that Mr. Williams
badgered him about the scratch on his face and not being satisfied with Lucas’ initial response,
Mr. Williams took him in the hallway where he questioned him alone. Mr. Williams then
contacted the Social Worker and later involved Principal Mr. Hunter. My son Lucas
immediately reported this information to me upon leaving school on November 7, 2013. He ran
from the school trying to get to me and was almost struck by a moving car. I immediately went to
Mr. Williams’ classroom where he was not there and then met with Mr. Hunter. I immediately
told Mr. Hunter that I strongly believe Mr. Williams is trying to have an inappropriate
relationship with my son. I told Mr. Hunter of my concerns of his previous behavior and this
decision to interrogate my son and move to call DCFS without calling me and alerting me of any
type of concerns. My suspicions were further heightened when Mr. Williams claimed that my
son was injured and hurt but failed to offer any type of medical attention. The school has a
school nurse there every day and she was not involved at any point during this investigation
and/or helping process. Mr. Hunter believed that I should meet with Mr. Williams to discuss the
incident and offered to attend the meeting with Mr. Williams. I stated to Mr. Hunter that “Tam
fine meeting with or without him; however, I believe Mr. Williams’ interests in my son are
inappropriate”.

On Friday, November 8, 2013, I returned to the school to meet directly with Mr. Williams to gain
further clarity on questioning of my son and the manner in which Mr. Williams interacts with
Lucas. I asked Dr. Durene Wheeler to accompany me to the meeting with Mr. Williams for

support. As we entered the school and proceed to make our way upstairs, Mr. Williams was on

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his way down. I immediately requested to meet with him and told him it was imperative that we
meet now. Mr. Williams was walking with another Lincolnwood staff person that I am only able
to identify as a white female. Mr. Williams swung his arms and turned from Dr. Wheeler and I
very loudly stating “I can’t meet with you and can only talk to you with Mr. Hunter present” then
fled from us to the teacher’s lounge. Although Mr. Williams was aware of my desire to meet
with him about this situation and he stated he could only meet with me with Mr. Hunter. Mr.
Williams made NO attempt to find Mr. Hunter or schedule any such meeting with Mr. Hunter’s
administrative assistant. Dr. Wheeler and I stayed and waited for Mr. Hunter’s arrival. Dr.
Wheeler and I met with Mr. Hunter that morning. Mr. Hunter stated he offered to meet with the
two of us and he remembered my reply when I stated I didn’t need him to meet with Mr.
Williams. Ican meet with Mr. Williams with or without the principal. At that moment Dr.
Durene Wheeler described our interaction with Mr. Williams in the hallway and how Mr.
Williams yelled and fled from us stating he could only meet with us with Mr. Hunter but did
nothing to ensure that meeting would happen. Once in the meeting with Mr. Hunter, Dr.

Wheeler and I expressed grave concern about Lucas’ safety in remaining in the classroom with
Mr. Williams and requested he be removed from Mr. Williams’ classroom. Dr. Wheeler
confirmed that I confided in her my concerns about Mr. Williams’ personal inquiry into my son’s
life. If there was genuine concern for the physical well being of my son then why wasn’t there
medical treatment or even a basic exam by the school nurse offered. It is my belief that Mr.
Williams is trying to build an inappropriate relationship with my son and isolate him from me to
gain some type of personal control over my son. I proceeded tell Mr. Hunter about the behaviors
of Mr. Williams that I believe to be inappropriate for a 4" grade teacher and the fact I requested
academic help from the school for Lucas but was never contacted by Mr. Williams as stated in an
email from Ms. Hoefakker. Mr. Hunter seemed frustrated by my words and immediately left his
office to have Mr. Williams and the school social worker to join the meeting. In the meeting,
Mr. Williams described my son as having multiple injuries and then stated he had a huge “gash”
on the side of his face. After he made these statements I asked if that is true then why didn’t you
get him medical attention, send him to the nurse, or call the ambulance and he responded, “it was

only a small scratch. ... you couldn’t really see it.” These inconsistent statements were made in

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front of multiple witnesses. When approached about his inappropriate behavior and questions to
my son he didn’t deny probing into my son’s personal life and his relationship with his father.
When questioned about his disclosure of personal information about himself to my son, Mr.
Williams stated he didn’t just say these things to Lucas but to the whole class as part of a
Personal Narrative example. He denied telling Lucas that he was abused. The social worker
stated that Lucas’ account of how he got the scratch differed from what Mr. Williams reported to
her and what was reported to Mr. Hunter. Mr. Williams provided a very vivid violent story of
me being “mad” at my son and picking his 4’9”, 102-pound body and throwing him across a
room.

I contacted the district regarding my concern and received a correspondence from the Human
Resources Department stating that an investigation was completed and found that the parties
involved did not do anything wrong. However, Principal Hunter confirmed there was no

investigation completed.

3)Slander- The investigation conducted by DCFS revealed that Mr. Williams and Ms. Hefland
made a horrific claim of abuse that I committed against my son. It was reported to DCFS that on
the evening of Wednesday, November 6, 2013 I viciously physically assaulted my son that
caused him to have cuts, bruises, welts, abrasions, and oral injuries. The report read to me by the
DCES Investigator stated I picked my son up and threw him and physically beat him where he
had a big “gash” on his face and suffered multiple injuries. This was highly inaccurate and made
up. During the report, the intake worked offered medical attention for the child and Mr.
Williams and Ms. Helfand declined. They never sent my son to the nurse or even called the
police. The investigation with DCFS was unfounded with no evidence of abuse. However, the
humiliation and potential professional harm this could have is detrimental. I, Cynthia Wright,
have five college degrees including a Doctorate of Education and have worked in the education

arena over the past 5 years and a career in human services over the past 15 years.

4) Interfering with Education and Harassment- Since this incident, Lucas Wright has been

harassed and unfairly targeted by Lincolnwood Elementary School staff causing him a great deal

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of distress in the classroom and has caused him to drop out of enrichment activities. Mr.

Williams has made daily visits to his new classroom that causes him to feel distressed and

intimidated. Despite complaints to the school, school district, and school board, there has not

been a formal investigation and our concerns have been ignored.

5) Summary of concerns- I feel that Evanston-Skokie School District 65 failed my son in the

following ways:

1. Mr. Williams approached my son about a healed scratch on his face and then took him
out of class to question him alone without a parent/guardian or trained professional.

2. Mr. Williams, Ms. Helfand, and Mr. Hunter acknowledged that Lucas was scared but
continued to badger my son.

3. The staff at Lincolnwood knew my son was scared and upset and did not provide any
support for him and just let him leave the school upset. I watched my son almost get hit by a
car running to me for help.

4. If each of the staff at Lincolnwood were in agreement that my son was hurt, there was no
medical attention provided not even from the school nurse. The school nurse was there and
my son didn’t even leave the school with a band-aid.

5. Filing a false complaint against his mother that resulted in being unfounded with no
evidence of any type of neglect or abuse against the child.

6. Refusing medical treatment on behalf of my son and I that was offered by DCFS during
the call to the hotline.

7. Falsely stating that an investigation was completed by the district on this matter and Mr.

Hunter confirming on 1/13/2014 that there wasn’t an investigation. The following people
should have been contacted in regards to this situation and was not: Myself (Dr. Cynthia
Wright), Dr. Durene Wheeler (witness), DCFS Investigator Mr. Jose Chacko, Dr. Cieragioli
(my son’s pediatrician that performed the DCFS physical examination) and the other staff at

the school that came into contact with my son on this day.

Despite multiple tries to contact the Evanston-Skokie School District, there has been no attempt

to respond to the concerns stated above. There has been no action taken by Lincolnwood

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Elementary School and Evanston-Skokie District 65 to address these issues. Lincolnwood
Elementary School and Evanston-Skokie District 65 are fully aware of these concerns and have
been since November 2013. It is unfair for our family to have to live with this distress on a daily

basis with staff that would abuse the power of their position in this manner.

6) Iam seeking damages from the Evanston-Skokie School District 65 in the amount of

$1,200,000.00.

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